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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF NEW YORK

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FIVE STAR BANK,
                                                           CASE NO. 6:24-CV-06153-FPG
                              Plaintiff,
                                                           NOTICE OF MOTION FOR
                                                           APPROVAL OF SECOND
                                                           APPLICATION OF HARTER
KATHERINE MOTT; ROBERT HARRIS; KRM                         SECREST & EMERY LLP,
EVENTS, LLC; KATHERINE’S ON MONROE, LLC;                   COUNSEL TO THE RECEIVER,
THE DIVINITY ESTATE AND CHAPEL, LLC; KNC                   FOR ALLOWANCE OF
ELEGANCE, LLC D/B/A THE WINTERGARDEN BY                    COMPENSATION AND
MONROES; 11 WEXFORD GLEN, LLC; RCC                         REIMBURSEMENT OF
MONROES LLC; NAF REMODELING LLC;                           EXPENSES
MONROES AT RIDGEMONT LLC CRESCENT
BEACH AT THE LAKE LLC; MOTT MANAGEMENT
LLC; KRISTINA BOURNE; TAYLOR PAGANO;
TIMOTHY LAROCCA,
                        Defendants.
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       PLEASE TAKE NOTICE that, pursuant to this Court’s Order (ECF Dkt. No. 57)

appointing Harter Secrest & Emery LLP (“HSE”) as counsel to the Court-appointed Receiver,

Mark R. Kercher (the “Receiver”), HSE hereby moves this Court for an Order approving its

Second Application for Allowance of Compensation and Reimbursement of Expenses, covering

the period from June 1, 2024 to June 30, 2024.

       In light of the circumstances set forth in the accompanying application, HSE respectfully

requests that the Court’s consideration and determination of this request be performed as

expeditiously as possible and without the need for formal motion practice. But should motion

practice or an appearance or argument be required, HSE will make itself available at the Court’s

convenience at a return date set by the Court.

       In support of this motion, HSE submits the declaration of John G. Horn, Esq., partner of

record for HSE in this case, annexed hereto.
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Dated: August 7, 2024
                                        Respectfully submitted,

                                        HARTER SECREST & EMERY LLP

                                        By:



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